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                           UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF COLORADO

In re                                             )
                                                  )
11380 Smith Road, LLC                             )   Case No. 19-10286 (TBM)
EIN: XX-XXXXXXX                                   )
                                                  )
                                                  )   Chapter 7
   Debtor.                                        )


                  MOTION TO DISMISS CASE OR ALTERNATE RELIEF

           The Debtor, 11380 Smith Road, LLC (the “Debtor”), by and through its counsel,
Wadsworth Garber Warner Conrardy, PC, for its Motion to Dismiss Case or Alternate Relief
respectfully states:
        1.      The Debtor initiated before this Court a Voluntary Petition for relief under Chapter
 11 of the Bankruptcy Code on February 13, 2018 at case number 18-10965 (the “Voluntary
 Case”).
        2.      The Debtor’s primary asset is its real property located at 11380 Smith Road,
 Aurora, Colorado, 80010 (the “Property”). In association with the Property, the Debtor also has
 a litigation claim with its insurance company pertain to hail damage to its roof. The repair to the
 roof is at least, and likely more than a million dollar issue (the “Insurance Claim”).
        3.      The Debtor’s primary secured creditor is the movant, 11380 Smith Road
 Investment LLC (“Lender”).
        4.      The Plan in the Voluntary Case has been confirmed.
        5.      On January 16, 2019, Mid American Plastic Systems filed the captioned
 Involuntary Petition against the Debtor (the “Involuntary Case”).
        6.      On February 15, 2019, the Order for Relief in the Involuntary Case entered.
        7.      On January 25, 2019, the primary secured creditor, 11380 East Smith Road
 Investments, LLC (“Lender”) filed it Motion to Dismiss Involuntary Case. Objections to the
 Motion to Dismiss were due February 22, 2019.
        8.      No party filed an objection to the Motion to Dismiss. Importantly, the Chapter 7
 trustee did not file an objection to the Motion to Dismiss.
        9.      The Debtor sought and obtained an extension of time through March 8, 2019 to
 objection to the Motion to Dismiss to determine the results of the foreclosure sale on the Debtor’s
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 real property.
         10.         Based upon the results of the foreclosure sale, the Debtor does not believe there
 will be any assets to distribute to creditors beyond the Lender. The foreclosure sale did not satisfy
 the claim of the Lender. The Lender has a deficiency of about $1,000,000 plus interest, any
 accruing fees and costs. The Lender assets a lien on the Insurance Claim. To the extent the
 Insurance Claim provides a return greater that the claim of the Lender, the Debtor can make any
 distribution to creditors.
         11.         If the Court is not inclined to dismiss this case, the Debtor seeks conversion of the
 case Pursuant to 11 U.S.C. § 706(a) to a Case Under Chapter 11. Bankruptcy Code § 706(a)
 provides:
               (a)      The debtor may convert a case under this chapter to a case under
                        chapter 11, 12, or 13 of this title at any time, if the case has not been
                        converted under section 1112, 1208, or 1307 of this title. Any waiver of the
                        right to convert a case under this subsection is unenforceable.

         12.           This case has not been previously converted Bankruptcy Code §§ 1112, 1208,
 or 1307.
         13.         Accordingly, if the case is not dismissed, the Debtor exercises its right under
 Bankruptcy Code § 706(a) to convert this case to a case under Chapter 11 of the Bankruptcy
 Code.
         14.         The case may then be consolidated with the Voluntary Case since the sole asset to
 liquidate is the Insurance Claim.
         WHEREFORE the Debtor respectfully requests that the Court enter an Order, a proposed
for is filed herewith, dismissing this case and granting such other and further relief as the Court.

DATED March 11, 2019                                       Respectfully submitted,

                                                           /s/ Aaron A. Garber
                                                           ___________________________
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